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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
          v.                                  §       Case No. 4:22-cr-612
                                              §
CONSTANTINESCU, et al.                        §       The Honorable Andrew S. Hanen
                                              §
          Defendants.                         §


   United States’ Second Response in Opposition to Defendant Constantinescu’s Third
                                  Motion to Compel

          The United States, by and through its undersigned counsel, responds to Defendant’s Third

Motion to Compel (ECF No. 328) and related brief (ECF No. 423). The Court should deny the

Motion because Defendant’s requests do not concern material exculpatory information, i.e., Brady

material.

          First, the circumstances surrounding Special Agent B’s apparent receipt of money from

Defendant cannot be exculpatory because they are unrelated to whether Defendant committed

securities fraud as alleged in the Superseding Indictment. Nor do facts beyond those already

produced impeach the credibility of any testifying witness in this case. The United States has

already produced the FBI-FD302 (Report of Interview) with Special Agent B on this issue. (See

Ex. 1.)

          Second, regarding Defendant’s ex-wife’s divorce lawyer’s contacts with a prosecutor, the

United States has already produced all emails sent by the prosecutor to the divorce lawyer, and in

this response attempts to address Defendant’s remaining requests to render this irrelevant issue

moot and clear it from the Court’s docket. This is not Brady material. Rather, these requests seek

not material exculpatory (or, indeed, even relevant admissible) information, but appear to be aimed
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at nothing other than impermissible jury nullification and/or designed to waste the prosecution

team’s (and, incidentally, the Court’s) time.

       I.      The Court should deny the Motion because the unspecified “information”
               Defendant seeks regarding Special Agent B is not Brady material.

       Any information beyond what the United States has already produced about Special Agent

B cannot be Brady material because it (1) does not concern the Defendant’s at-issue conduct and,

thus, logically cannot exculpate that conduct, and (2) does not relate to any testifying witness’

involvement in this case (or it would be part of the case file). As such, the Court should deny the

Motion.

       At most, Defendant attempts to create “Brady” information about the transfer to Special

Agent B by arguing about the United States’ supposed inconsistent treatment of Defendant’s

assets. This argument is a non sequitur. The United States took legitimate steps to seize

Defendant’s exiting assets in his possession. That the United States did not take further action and

attempt to claw back monies from any third parties (action that the United States has not

contemplated or attempted at this stage of the proceeding for any third party) in no way undermines

the affirmative steps that the United States did take or its allegations in this case. Put another way,

that the United States sought to restrain Defendant from disposing of his own assets is not

undermined by not taking categorically different additional steps related to third parties. Indeed,

Defendant would have a plausible argument if the United States sought to, for example, claw-back

funds paid to his girlfriend or other third parties but not those to Special Agent B. But such is not

the case. In fact, when the Court stayed the seizure warrants, the United States stopped further

pursuit of Defendant’s own assets at this juncture, let alone begin a campaign to claw-back assets

from third parties. It is only by cobbling together a string of logical inconsistencies that Defendant

can even attempt to shoehorn the requested information into purported “Brady” material. But the


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Court should reject those fallacies.

       Putting aside that issue, Defendant persists in his mistaken views on what could constitute

material exculpatory information, i.e., Brady material. Defendant paints with the broadest of

brushes in claiming any bias Special Agent B may have (if any) should somehow be imputed to

the prosecution team. But Defendant’s specious claims of bias in this investigation are belied by

basic facts. Special Agent B had no role in either the investigation or charging of this case.

       As background, Special Agent B does not physically work in the FBI’s Houston Field

Office, but is assigned to an office in Bryan–College Station. In that capacity, Special Agent B

works primarily on national security issues. As explained below, Special Agent B had zero role in

the investigation of this case.

       As reflected in the FBI’s case-opening document, this case originated with the Fraud

Section in Washington, DC, and “was referred to FBI Houston by DOJ Fraud Section . . . .” (See

Ex. 2 at 3.) Thus, the case origination itself could not be further removed from Special Agent B.

Defendant had this information but chose instead to make specious insinuations in his Motion

without any basis in fact.

       When the lead case agent opened the case on May 18, 2022, the case agent had neither met,

and to this date has not even spoken to, Special Agent B nor had any knowledge of Special Agent

B’s relationship to Defendant. On June 13, 2022, the case agent requested that this investigation’s

case file be placed on “prohibited status,” as reflected in the serial dated June 13, 2022, attached

as Exhibit 3. Designating the case as “prohibited status” meant that Special Agent B did not have

any ability to see if this case even existed, let alone the substance of the file.

       To be clear, the case agent had no reason to suspect Special Agent B of any wrongdoing

and had no understanding of Special Agent B’s relationship with his sister or Defendant, whether



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positive or otherwise. By placing this case in prohibited status, the case agent sought to protect

against even the possibility of Special Agent B inadvertently learning of this investigation. In this

way, the lead case agent took this reasonable step to ensure the covert nature of the investigation

by walling off anyone with potential ties to Defendant. After this case was charged by indictment

on December 7, 2012 (see ECF No. 1), Special Agent B was informed about this case by his

supervisor on or about the morning of the Defendants’ arrests. Special Agent B was so informed

on or about December 13, 2022 as a professional courtesy given his relationship to Defendant’s

wife. Prior to the Defendants’ arrests, the case team has no reason to believe that Special Agent B

knew of the investigation at all and, as noted above, took affirmative steps to preclude such

knowledge.

       Given Special Agent B’s complete lack of involvement in the investigation of this case,

there is no factual foundation to argue that the Houston Field Office, writ large, has “bias” towards

Defendant. (See ECF No. 328 at 2.) It therefore follows that there is no similar basis to “attack the

credibility of the investigation that led to these charges against [Defendants].” (Id.) Putting aside

the lack of factual foundation, Defendant’s attempts to string together impeachment material for

an office writ large fails as a matter of law, because it is the testifying witnesses who are relevant

here. See, e.g., United States v. Freeman, 164 F.3d 243, 248 (5th Cir. 1999) (explaining that Brady

and Giglio apply to “any evidence that would tend to show a prosecution witness’s bias, [or] could

be used to impeach him” (emphasis added)). By ignoring both the facts and the law, Defendant

has now lodged another meritless fishing expedition for purported Brady information, which the

Court should not entertain. See United States v. Edwards, 442 F.3d 258, 268 n.10 (5th Cir. 2006)

(“Due to the speculative and conclusory nature of the [defendants’] allegations with respect to both

the suppression and materiality Brady prongs, such a hearing would serve as nothing more than a



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fishing expedition.”).

       As to the facts surrounding the transfer of funds to Special Agent B, an agent on this case

interviewed Special Agent B after Defendant texted Special Agent B the February 21, 2023

message referenced in the Motion. (See ECF No. 423 at 5.) The United States produced both the

cited text message and the report of interview to Defendant as part of its discovery obligations in

this case. (See Ex. 1.) Defendant is therefore seeking to pervert the United States’ compliance with

its discovery obligations to manufacture discovery “violations” out of whole cloth.

       The nature and circumstances of that transfer have no relevance to this case, given Special

Agent B’s lack of involvement in the case. Even assuming that this money is from “trading profits”

as Defendant Constantinescu suspiciously claimed more than three months after his indictment

and approximately two weeks after the return of the Superseding Indictment (ECF No. 134, Feb.

8, 2023), there is no reason to believe this information is Brady material. The transfer has nothing

to do with the underlying facts of the case, whether Defendant committed the charged offenses, or

any of the testifying witnesses.

       As to the merits of the transaction, Defendant ties himself in knots trying to besmirch the

integrity of the case team but does not flesh out the only possible logical conclusions of his

argument, none of which resolve in his favor. If the transfer did not involve tainted funds, then

there is zero relevance to the transfer at all, and it does not undermine the United States’ efforts to

seize Defendant Constantinescu’s other assets in this case. If Defendant will concede that the

transfer involved tainted funds, the only conceivable relevance in this trial would be impeachment

material as to Special Agent B. Of note, this argument would also require accepting other

foundational predicates, namely that Special Agent B had knowledge of the tainted source of the

funds or otherwise acted in a manner that would undermine his credibility. On both points, the



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United States does not accept these premises. Nonetheless, even assuming such is the case for

present argument, that hypothetical relevance falls flat given that Special Agent B is not a witness

in this case and will not be called as such by the United States. See, e.g., Freeman, 164 F.3d at 248

(“The district court determined that so long as neither [person] testified, the issue of their potential

bias or misconduct was not relevant.”); United States v. Mesa, 660 F.2d 1070, 1076–77 (5th Cir.

1981) (holding failure to disclose government witness was under investigation did not require

reversal because impeachment value of such evidence insufficient to result in acquittal).

       II.     Defendant’s requests for information regarding his ex-wife’s divorce lawyer’s
               contacts with a prosecutor are rendered moot by this filing and are otherwise
               irrelevant.

       As context on the “merits,” Defendant’s wife’s divorce attorney reached out, on his own,

to a prosecutor to obtain information about this case and its potential impact on the divorce

proceedings. The prosecutor and divorce attorney spoke by phone several times and exchanged

several emails. As demonstrated in the emails, the main thrust of the attorney’s inquiries turned on

his efforts to understand the veracity of Defendant’s purported representations to the divorce court

that Defendant’s pre-trial conditions in this case prevented him from paying court-ordered spousal

support. The United States filed the referenced motion regarding Defendant’s pre-trial release

conditions to ensure that Defendant could not use this case to avoid his financial obligations in that

proceeding, and to avoid the administrative burden of this Court having to approve a monthly

$10,000 spousal support payment. (See ECF Nos. 270, 274.) These efforts have nothing to do with

the merits of this case and cannot possibly constitute Brady, Giglio, or other impeachment material

as they simply have nothing to do with either Defendant’s at-issue conduct or a testifying witness.

       The United States has already produced to Defendant all emails sent by the prosecutor to

Defendant’s ex-wife’s divorce attorney. Defendant’s remaining request appears to be:

               that the government disclose the date of each phone conversation

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                AUSA Carter had with the wife’s divorce attorney. And, to the
                extent AUSA Carter’s phone conversations with the wife’s divorce
                attorney included representations about the availability of
                Constantinescu’s assets or his financial position that are inconsistent
                with the FBI’s financial analysis in this case or inconsistent with the
                government’s briefing to continue to encumber the property listed
                in Count 21 of the Superseding Indictment, the government should
                memorialize the substance of any such conversation in a letter to
                disclose as Brady material.

(ECF No. 423 at 6–7.)

        Solely to render this issue moot and avoid continuing to waste the Court’s time with it, the

United States confirms Defendant’s ex-wife’s divorce lawyer and AUSA Carter had approximately

5 or 6 calls (certainly fewer than ten), in the same approximate time frame as the emails exchanged

(i.e., approximately March to June 2023). The United States further confirms that nothing in the

calls was inconsistent with the United States’ allegations in this case and there is nothing to

memorialize in response to the above-quoted request. Although none of this information is material

and exculpatory (or even relevant or admissible), this issue should now be moot and the Court

should deny the Motion. 1

                                              Conclusion

        The Court should deny Defendant’s Motion because it seeks information that cannot

logically be exculpatory or impeachment material and, thus, does not implicate Brady, or is moot

or otherwise irrelevant to this case.




        1 To the extent Defendant again disregards rules of briefing and includes new demands in a reply
not previously raised in his multiple prior briefs on this topic, the Court may and should disregard them.

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Dated: September 25, 2023          Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 25, 2023, I will cause the foregoing brief to be

electronically filed with the Clerk of the Court using the CM/ECF system, which will provide

copies to counsel for all parties.



                                          /s/ John J. Liolos
                                          John J. Liolos, Trial Attorney
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